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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

SELECT PORTFOLIO                     §
SERVICING, INC.,                     §
                                     §
     Plaintiff,                      §
                                     §
v.                                   §            Civ. Action No. 3:23-cv-2398
                                     §
EVELYN COLLINS,                      §
JOSE N. ESTRADA,                     §
JUAN O. MARTINEZ,                    §
MARIA A. MARTINEZ AND                §
MARIA O. MARTINEZ                    §
                                     §
     Defendants.                     §

           DEFENDANTS JOSE N. ESTRADA, JUAN O. MARTINEZ,
MARIA A. MARTINEZ, AND MARIA O. MARTINEZ’S REPLY BRIEF IN SUPPORT OF
         MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(6)

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       Defendants Jose N. Estrada, Juan O. Martinez, Maria A. Martinez, and Maria O.

Martinez (collectively “Defendants”) respectfully submit this Reply Brief in further support

of their Motion to Dismiss Pursuant to FED. R. CIV. P. § 12(b)(6) against Plaintiff Select

Portfolio Servicing, Inc. (“Plaintiff”), and would show the Court as follows:


                                SUMMARY OF REPLY BRIEF

       On November 27, 2023, this Court issued its Order Setting Briefing Schedule

(“Order”) directing that “Plaintiff must file a written response to the motion by December

22, 2023. The response must be accompanied by or incorporate a brief, and the response

and the brief must not together exceed 30 pages in length, excluding any table of contents

and table of authorities.”1

       1.      Plaintiff failed to comply with the Order in that no response or supporting

brief of any kind was submitted. Instead, Plaintiff filed its First Amended Complaint,

adding Section VI., a “Matter of Avoidance,” suggesting that Defendants Jose N. Estrada,

Juan O. Martinez, Maria A. Martinez, and Maria O. Martinez “are not bona fide purchasers

for value because they did not acquire the property for value.” In the only attempt made

to support this suggestion, Plaintiff further states that “[t]hese Defendants acquired the

property for $100.00 per the General Warranty Deed filed in the Real Property Records

of Dallas County, Texas. (See Exhibit J.)”2 Plaintiff did not, in any capacity, challenge the

facts and legal arguments establishing that Plaintiff’s claims are barred by limitations.

       2.      Because (a) Plaintiff failed to comply with the Court’s Order, (b) Plaintiff’s

challenge to Defendants’ status as bona fide purchasers for value is not supported by



1 See Document 14, Order Setting Briefing Schedule, page 1.
2 See Document 19, First Amended Complaint, page 9.




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facts, and (c) Plaintiff has raised no challenge to Defendants’ claim that Plaintiff’s suit is

barred by limitations, the Court should grant the Defendants’ Motion to Dismiss Pursuant

to Fed. R. Civ. P. 12(b)(6).

                    SUPPLEMENTAL ARGUMENTS AND AUTHORITIES

    I. Plaintiff Failed to Respond to Motion to Dismiss

        3.       "District courts may, for appropriate reasons, dismiss cases sua sponte."3

A court may sua sponte dismiss a plaintiff's claims under Rule 12(b)(6) for failure to state

a claim "as long as the procedure employed is fair;" this requires notice of the intent to

dismiss and an opportunity to respond.4 "Pre-dismissal notice and opportunity to respond

are not needed 'if the plaintiff has [already] alleged his best case," which includes "(1)

repeatedly declar[ing] the adequacy of that complaint in ... response to [the] defendant's

motion to dismiss and (2) refus[ing] to file a supplemental complaint even in the face of a

motion to dismiss."5 The recommendation of a United States Magistrate Judge that a case

be dismissed sua sponte with an opportunity for the plaintiff to object to it satisfies this

requirement.6 In this case, while Plaintiff has submitted its Amended Complaint, Plaintiff

has wholly failed to file a response to the Motion Dismiss pursuant to the Court’s Order

Setting Briefing Schedule. Further, Plaintiff’s Amended Complaint neither controverts nor

even challenges the limitations arguments and supporting authorities in the Motion to

Dismiss. As pertains the limitations issue raised by Defendants in the Motion to Dismiss,

Plaintiff clearly has already alleged its best case; therefore, the granting of the Motion to

Dismiss is appropriate.



3 See Carter v. Atwood, 18 F.4th 494, 497 (5th Cir. 2021) (collecting cases).
4 Id. at 498 (citing Davoodi v. Austin Indep. Sch. Dist., 755 F.3d 307, 310 (5th Cir. 2014)).
5 Id. at 498 n.1 (citing Brown v. Taylor, 829 F.3d 365, 370 (5th Cir. 2016)) (internal quotations omitted).
6 See Alexander v. Trump, 753 F. App'x 201, 208 (5th Cir. 2018) (citing Magouirk v. Phillips, 144 F.3d

348, 359 (5th Cir. 1998)).



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   II. Defendants Purchased the Property from a Bona Fide Purchaser for Value
       whose Purchase was Beyond the Applicable Limitations Period

       4.      Plaintiff’s Amended Complaint, while asserting that Defendants are not

bona fide purchasers for value regarding the real property and improvements located at

2122 Village Way, Dallas, Texas 75216 (the “Property”),7 makes no such claim with

respect to Clarance Giles, the bona fide purchaser for value who purchased the Property

from Evelyn Collins via the Warranty Deed recorded on September 15, 2021,8 which is

more than four (4) years after the March 26, 2017 maturity date for the underlying loan.9

Under the applicable Texas statute of limitations,10 Plaintiff was already time barred from

foreclosing on the Property at the time of the conveyance to Giles. Plaintiff’s Amended

Complaint does not dispute this fact, which Plaintiff essentially admitted in the Notice of

Rescission of January 3, 2023 Foreclosure Sale (Notice of Rescission).11


   III. Plaintiff Offers No Support for Claim that Defendants Are Not Bona Fide
        Purchasers

       5.      The only basis argued by Plaintiff for the claim the Defendants are not bona

fide purchasers for value is Plaintiff’s misrepresentation of language in the General

Warranty Deed from Clarence Giles to Defendants.12 Contrary to Plaintiff’s assertion in

its Amended Complaint, however, the Defendants did not acquire the Property “for

$100.”13 The deed actually states that the Property was conveyed “for in consideration

of the sum of TEN AND NO/100 DOLLARS, cash and other good and valuable

7 See Document 19, First Amended Complaint, page 9.
8 See Document 19-1, Exhibit F to First Amended Complaint, Warranty Deed from Collins to Giles, pages

37-39.
9 See Document 19-1, Exhibit A to First Amended Complaint, Loan Repayment and Security Agreement,

pages 2-6.
10 See TEX. CIV. PRAC. & REM. CODE ANN. § 16.035(a)-(b)
11 See Document 12-4, Exhibit 4 to Motion to Dismiss.
12 See Document 19-1, Exhibit J to First Amended Complaint, pages 55-57.
13 See Document 19, First Amended Complaint, page 9.




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consideration…”14 Texas courts acknowledge the sufficiency of this language in

contracts, including those for the purchase of land:


       “The deed states that, in addition to $10, "other good and valuable
       consideration" was given for the deed. Deeds ordinarily embody such
       recitals of nominal consideration and "other good and valuable
       consideration."

       -    See, e.g., Averyt v. Grande, Inc., 717 S.W.2d 891, 898 (Tex. 1986);
            Tatum v. Tatum, No. 14-11-00622-CV, 2012 Tex. App. LEXIS 3919,
            2012 WL 1795112, at *2-3 (Tex. App.—Houston [14th Dist.] May 17,
            2012, no pet.); Troxel v. Bishop, 201 S.W.3d 290, 294 (Tex. App.—
            Dallas 2006, no pet.), cited in Lopez v. Rivas, 2015 Tex. App. LEXIS,
            4415, *7.

       “The terms of the General Warranty Deed state that it was executed “in
       consideration of the sum of TEX DOLLARS ($10.00) cash, and other good
       and valuable consideration…

       …When an agreement is in writing, consideration is presumed and the party
       alleging lack of consideration has the burden to rebut that presumption.”

       -    Blockbuster, Inc. v. C-Span Entm't, Inc., 276 S.W.3d 482, 488 (Tex.
            App.—Dallas 2008, pet. granted), cited in Syphrett v. Nationstar Mortg.
            Co., L.L.C., 2020 Tex .App. LEXIS 8787 *48.


       Again, Plaintiff has filed no response to the Motion to Dismiss, and offers no

evidence or other information to indicate that the Property was conveyed without “good

and valuable consideration” or for an amount that was “grossly inadequate.”15

       6.      As stated previously, “a void lien is forever void. It is no more. It has ceased

to be. A party cannot fail to foreclose on a lien, lose the lien, and then revive the lien by

filing a counterclaim in a trespass to try title lawsuit. Such an interpretation of the effect

of [TEX. CIV. PRAC. & REM. CODE ANN.] section 16.069 would allow virtually any party to




14 See Document 19-1, Exhibit J to First Amended Complaint, page 55.
15 See Document 19, First Amended Complaint, page 9.




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revive a void lien, wreaking havoc on foreclosure proceedings throughout the State of

Texas. There is no support for such an interpretation.”16 “Acceleration is defined as the

advancing of a loan agreement's maturity date. Once the maturity date of the last

installment has passed, the holder may not ‘accelerate’ the note. Rather, the holder's

cause of action accrues--and therefore limitations begins to run--on the maturity date of

the final installment,”17 which occurred on March 26, 2017.18 As Plaintiff’s request for

non-judicial foreclosure is time barred and Plaintiff fails to raise any basis for tolling, it

must be dismissed under FED. R. CIV. P. § 12(b)(6).

        WHEREFORE PREMISES CONSIDERED, Defendants Jose N. Estrada, Juan O.

Martinez, Maria A. Martinez, and Maria O. Martinez respectfully requests that the Court

grant their Motion to Dismiss Pursuant to FED. R. CIV. P. § 12(b)(6) and dismiss Plaintiff’s

claims with prejudice to refiling and for all further relief to which Defendants may be justly

entitled.




16 Bitterroot Holdings, LLC v. Bank of N.Y. Mellon, 2017 U.S. Dist. LEXIS 222644, *38.
17 CA Partners v. Spears, 274 S.W.3d 51, 65 (Tex. App.— Houston [14th Dist.], pet. denied); TEX. CIV.

PRAC. & REM. CODE § 16.035(e).
18 See Document 19-1, Exhibit A to First Amended Complaint, page 2.




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                                           Respectfully submitted,

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                                           MARIA A. MARTINEZ, AND
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                            CERTIFICATE OF SERVICE

        I certify that on January 8, 2024, I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system which will send a notice of electronic filing to
all parties appearing on the Court’s ECF service list.

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